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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                    WESTERN DIVISION AT CINCINNATI

UNITED STATES OF AMERICA,

                               Plaintiff,            :       Case No. 1:15-cr-026 (3)


                                                             District Judge Susan J. Dlott
       -   vs   -                                            Magistrate Judge Michael R. Merz

AARON ANTHONY MURRAY,


                               Defendant.            :



           DECISION AND ORDER ADOPTING REPORT AND
                      RECOMMENDATIONS


        This case is before the Court on Defendant Murray’s Objections (ECF No. 107) to the

Magistrate Judge’s Report and Recommendations (“Report,” ECF No. 104) recommending

denial of Defendant’s Motion to Vacate Sentence under 28 U.S.C. § 2255 (“Motion,” ECF No.

102). As required by Fed. R. Civ. P. 72(b)(3), the Court reviews the Report de novo.

       The Motion pleads the following six grounds for relief:

                Ground One: Petitioner Murray states a valid claim that he
                received ineffective assistance of counsel under the Sixth
                Amendment and Strickland v. Washington.

                Supporting Facts: Petitioner respectfully submits that defense
                counsel Paul M. Laufman, Esq. induced him to change his plea of
                not guilty to guilty based on patently erroneous and incorrect
                advice rendered to him. It is unprofessional conduct for an attorney
                to understate or overstate the risks, hazards, or prospects of the
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         case to exert undue influence on his/her client's decision as to the
         plea to be entered. In the instant case, defense counsel 's action fell
         below an objective standard of reasonableness and was not the
         result of legitimate strategy that resulted in Petitioner being
         egregiously prejudicesd [sic]. In March of 2015 while incarcerated
         in the Cincinnati, Ohio Criminal Justice Center in pre-trial custody,
         a "meeting, debriefing or proffer" was arranged by defense counsel
         Laufman. In attendance at this "proffer" were AUSA Anthony
         Springer, Esq., Special Agents of the A.T.F.&E and D.E.A. in
         which defense counsel Laufman emphatically encouraged,
         instructed and directed Petitioner Murray to admit his involvement
         in any robberies with a guarantee of a 8 to 10 year sentence.

         Ground Two: Petitioner Murray's acceptance of the plea
         agreement cannot be construed as voluntary, knowing or
         intelligently entered into when he could NOT have possibly
         understood or realized the consequences of entering a guilty plea
         agreement as the “misadvice” provided to Petitioner Murray
         promised and assured him a sentence of eight to ten years in
         federal prison by defense counsel Paul M. Laufman, Esq.
         Ultimately, Petitioner received a sentence of 300 months when
         sentenced by U. S. District Judge Susan J. Dlott on Counts One
         through Four based on defense counsel's "misadvice" must be
         viewed upon as ineffective assistance of counsel. See Lee v. United
         States, 2017 WL 2694701 (6th Cir . 2017); see also McCarthy v.
         United States, 394 U. S . 459, 466 (1969). The standard for
         determining the validity of a guilty plea is "whether the plea
         represents a voluntary and intelligent choice among the alternative
         courses of action open and available to Petitioner Murray. See
         North Carolina v. Alford, 400 U.S. 25, 31, 91 S. Ct. 160, 164, 27
         L. Ed. 162 (1970). It must be done with sufficient awareness of the
         relevant circumstances and likely consequences. See McMann v.
         Richardson, 387 U.S. at 759, 766, 90 S.Ct. 1441 (1970).

         Ground Three: Petitioner Murray's acceptance of the plea
         agreement cannot be construed as being voluntary, knowing or
         intelligently entered into.

         Supporting Facts: Petitioner Murray respectfully avers that under
         the circumstances and the information and supposed facts provided


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         to him by defense counsel regarding his exposure in punishment
         and the sentence to be imposed by the Court, he could not have
         possibly understood or realized the consequences of entering a
         guilty plea. See Lee v. United States, 2017 WL 2694701 (6th Cir.
         2017). The standard for determining the validity of a guilty plea is
         "whether the plea represents a voluntary and intelligent choice
         among the alternative courses of action open to the defendant
         (Murray). See Brady v. United States, 397 U.S. 742, 90 S.Ct. 1463,
         25 L.Ed.2d 747 (1970). Defense counsel's advice should have
         permitted Petitioner Murray to make an informed and conscious
         choice. Of course, with the erroneous and inaccurate information
         provided to him, this was made literally impossible. See McCarthy
         v. United States, 394 U.S. 459, 466 (1969).

         Ground Four: Petitioner Murray's convictions on Counts Two &
         Four of the Information charging violations of 18 USC§ 924(c) are
         unconstitutional due to the fact predicate "Hobbs Act" robberies as
         defined by 18 U.S.C. § 1951 do not qualify as crimes of violence
         as a matter of law.

         Supporting Facts: Petitioner Murray respectfully advances the
         proposition that the relevant portion of 18 U.S.C. § 924(c) which
         defines a "crime of violence" contains two clauses. The first
         clause-924(c)(3)(A) is commonly referred to as the "force" clause.
         The other-924(c)(3)(B) is commonly referred to as the residual
         clause . Thus, Hobbs Act robbery under § 1951 categorically fails
         to qualify as a "crime of violence" under§ 924(c)(3)' s force clause
         since pursuant to§ 1951, the offense can be committed simply by
         putting one in fear of future injury to his her person or property,
         which 1) does not require the threat of violent physical force, and ~
         does not require an intentional threat of the same.

         Ground Five: The U.S. District Court was under the incorrect
         assumption that it had no alternative but to impose a “consecutive”
         sentence regarding the firearm charge contained in Count Four of
         the Information commonly referred to as stacking.

         Ground Six: The U.S. District Court was not aware of its
         authority pursuant to 18 U.S.C. § 3553(e) to sentence Petitioner
         Murray below the statutory minimum on Count Four.


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(Motion, ECF No. 102.)



Ground One



        In his Objections as to the first Ground for Relief, Murray repeatedly voices suspicions

about how attorney Paul Laufman came to be appointed to represent him in this case when no

federal charges had yet been filed. Under this Court’s Criminal Justice Act Plan, counsel will be

appointed by the Magistrate Judge on criminal duty1 for a person whom the United States

Attorney has identified as the target of a federal criminal investigation. Mr. Laufman is a regular

member of this Court’s list of attorneys to be appointed under the Plan. The purpose is to

provide counsel to those who are or are about to become federal criminal defendants as early in

the process as possible. Thus it is a process designed to protect the interests of a defendant and

nothing sinister is to be inferred from this early appointment. The record shows that, as Murray

admits in his Objections, he was still confined on state charges when the appointment was made.

In fact, his appearance in federal court for arraignment was pursuant to writ of habeas corpus ad

prosequendum (ECF No. 33).

        While Murray repeatedly asserts that the Magistrate Judge’s proposed findings are wrong

in many different ways, he does not dispute that the Plea Agreement had an agreed sentence of

384 months, much more than the eight to ten years Murray claims he was guaranteed. He does

not dispute that he swore under oath at the plea colloquy he attended a semester of college at the

University of Cincinnati Blue Ash campus. Thus he was fully literate and able to understand the


1
  This would have been either Magistrate Judge Karen Litkovitz or Magistrate Judge Stephanie Bowman.
Magistrate Judge Merz does not perform regular criminal duty at the Cincinnati location of court and was designated
to be involved only when the § 2255 Motion was filed (See ECF No. 103).

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written Plea Agreement. (Transcript, ECF No. 86, at PageID 264. He swore that he had read the

Information and discussed it with Laufman and that he understood the charges. Id. at PageID

265. Murray pleaded guilty separately to each of the four counts. Id. at PageID 271. Murray

swore he was satisfied with the advice Laufman had given him. Id. at PageID 272. The Court

explained the maximum and minimum sentences, including consecutive sentencing, and Murray

swore he understood. Id. at PageID 275-76. Murray swore that the Plea Agreement represented

his entire agreement with the Government. Id. at PageID 290. Laufman confirmed that to be the

truth. Id. In response to Judge Dlott’s question, Murray swore that no one had made any

promise or assurance to him to get him to enter into the Plea Agreement that was not contained

in that document. Id. at PageID 290-91. Asked the same question in a different form, he again

swore that, aside from what was in the Plea Agreement, no one had made him any promises or

assurance of any kind to get him to plead guilty. After a statement of facts by an ATF agent and

Murray’s agreement that those facts were true, the Court found his pleas of guilty were knowing

and voluntary. Id. at PageID 306.

       The Plea Agreement with the agreed sentence was signed April 23, 2015 (ECF No. 22).

The plea colloquy at which the Plea Agreement was discussed and Murray gave the testimony on

which the Court based its finding his plea was voluntary occurred on June 3, 2015, six weeks

after the Plea Agreement was signed, allowing Murray ample time to consider what it was he had

agreed to. Nevertheless at the plea colloquy he pleaded guilty in accordance with the agreement.

Sentence was not imposed until almost a year later on May 9, 2016. During all that time, Murray

never once attempted to withdraw his guilty plea or to suggest in any way that he did not

understand or agree to what was in the Plea Agreement.




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       Murray’s claim now is that his plea was involuntary because his attorney guaranteed him

a much lower sentence. That claim is parallel to the situation in Ramos v. Rogers, 170 F.3d 560

(6th Cir. 1999), where a defendant claimed to be entitled to a sentence completely at odds with an

agreed sentence in a plea agreement and with the agreement as memorialized in the record of the

plea colloquy. As the Ramos court held, “[i]f the plea colloquy process were viewed in this light,

any defendant who alleged that he believed the plea bargain was different from that outlined in

the record would have the option of withdrawing his plea despite his own statements during the

plea colloquy indicating the opposite.” Id. at 566. It simply is not the law that a literate adult

who has signed a Plea Agreement with an agreed sentence of 384 months and to whom the

agreement and consequences have been explained thoroughly can receive a sentence of 300

months and then wait almost three years to claim he was promised a lighter sentence.



Grounds Two through Six



       The Report found that Grounds Two through Six were procedurally defaulted because

they could have been raised on direct appeal but were not (ECF No. 104, PageID 592-97).

Murray asserts he can establish cause and prejudice to excuse that default and refers the Court to

pages 26 through 31 of his § 2255 Motion (Objections, ECF No. 107, PageID 635, referencing

ECF No. 102, PageID 490-95).

       That section of his Motion begins with the unexceptionable proposition that ineffective

assistance of counsel can provide cause and prejudice to excuse a procedural default (Motion,

ECF No. 102, PageID 491, citing Murray v. Carrier, 477 U.S. 478 (1985). But then Murray

proceeds for several pages to recite truisms about ineffective assistance without ever making a



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complete argument about how his appellate attorney provided ineffective assistance. The closest

he comes is one paragraph which reads:

               Moreover, appellate counsel West's failure to raise obvious
               issues(s) in the record, such as [1] the "misadvice" of defense
               counsel regarding the sentence exposure of Petitioner after
               debriefing law enforcement and accepting the plea agreement, [2]
               the "stacking" of the firearms counts, [and 3] failure to have the
               clothing discovered by law enforcement allegedly worn in the two
               robberies independently DNA tested for other possible suspects
               constitutes ineffective assistance of counsel. See Mapes v. Coyle,
               171 F.3d 408 (6th Cir.1999); see also Lucas v. O'Dea, 179 F.3d
               412, 419 (6th Cir . 1999); Mason v. Hanks, 97 F.3d 887, 894 (7th
               Cir. 1996).

Id. at PageID 495.

       The Report found Murray’s Grounds Two through Six were procedurally defaulted

because they could have been but were not raised on direct appeal. In order to prove ineffective

assistance of appellate counsel sufficient to excuse the procedural default of a claim on direct

appeal, a § 2255 movant must show that the claims not raised were stronger than the claims that

were raised. To evaluate a claim of ineffective assistance of appellate counsel, then, the court

must assess the strength of the claim that counsel failed to raise. Henness v. Bagley, 644 F.3d

308 (6th Cir. 2011), citing Wilson v. Parker, 515 F.3d 682, 707 (6th Cir. 2008). Counsel's failure

to raise an issue on appeal amounts to ineffective assistance only if a reasonable probability

exists that inclusion of the issue would have changed the result of the appeal. Id., citing Wilson.

But Murray makes no argument about how his Grounds Two through Six are stronger than the

claims raised, nor does he make any argument as to how it was ineffective assistance of appellate

counsel to fail to raise the three possible grounds mentioned above. That is, he does not pursue

the three claims he says were omitted as a result of ineffective assistance of appellate counsel nor



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does he attempt to show how Grounds Two through Six would have been stronger than those

actually raised.

       Omission of the three claims mentioned in the § 2255 Motion was not ineffective

assistance of appellate counsel. Laufman told Murray that he had never seen a prosecutor

“stack” claims such as these, but by the time the Plea Agreement was signed, the prosecutor’s

intention to do so was clear and Murray agreed to it. He has not even attempted to show that the

stacking was unlawful, nor has he offered any evidence that DNA testing of the recovered

clothing would have identified someone else.

       Murray has not shown it was ineffective assistance of appellate counsel to fail to raise his

Grounds Two through Six and the Magistrate Judge’s conclusion that they are procedurally

defaulted is therefore ADOPTED.

       Moreover, even if the claims were not procedurally defaulted, the Court would dismiss

them on the merits.

       Grounds Two and Three are without merit for the same reasons as Ground One: a

defendant who has sworn he understands and consents to a Plea Agreement with an agreed

sentence of 384 months cannot remain silent for almost three years and then be heard to

understand he was guaranteed eight to ten years.

       As to Ground Four, Murray’s Objections argue at some length that his convictions are

unconstitutional because “the predicate Hobbs Act robberies as defined by [18 U.S.C.] § 1951 do

not qualify as ‘crimes of violence’ as a matter of law.” (ECF No. 107, PageID 624-28.) He fails

to deal at all with United States v. Taylor, 814 F.3d 340 (6th Cir. 2016), which held that 18

U.S.C. § 924(c) was not unconstitutionally vague despite Johnson v. United States, 135 S.Ct.




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2551 (2015). As the Report notes, Taylor was decided before Murray’s conviction was upheld

on appeal (ECF No. 104, PageID 597).

       As to Grounds Five and Six, Murray was sentenced to sixty months on Count 2 under 18

U.S.C. § 924(c)(1)(A)(ii) and 240 months on Count 4 under 18 U.S.C. § 924(c)(1)(A)(iii) and

(c)(1)(C)(i) (Judgment, ECF No. 77, PageID 237). The first of these two sections requires a

sentence for use of a firearm in committing a Hobbs Act violation “in addition to” the sentence

for the Hobbs Act crime. The second of these sections requires a twenty-five year term of

imprisonment for firearm use in a second Hobbs Act violation. The Court imposed only one day

imprisonment each for the underlying offenses and departed downward by seven years from the

mandatory minimum provided by statute. These is no proof that the Court imposed a sentence

higher than that provided by law.



Conclusion



       The Court therefore OVERRULES Murray’s Objections and ADOPTS the Report and

Recommendations. Defendant’s Motion to Vacate under 28 U.S.C. § 2255 (ECF No. 102) is

DISMISSED WITH PREJUDICE. Because reasonable jurists would not disagree with this

conclusion, Petitioner is denied a certificate of appealability and the Court certifies to the Sixth

Circuit that any appeal would be objectively frivolous and therefore should not be permitted to

proceed in forma pauperis.



                                                         _____s/Susan J. Dlott____________
                                                                   Susan J. Dlott
                                                             United States District Judge



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